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                                      Case 3:18-cv-00088-GEC Document 2 Filed 09/24/18 Page 1 of 12 Pageid#: 3                                                                                                 '
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ProSe4(Rev.12/16)ComplaintforaCivilCaseAllegingBmachofContract           .'               .

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                                             retabulation.
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                                                           Iknew whataretabulation wasand sugg.ested thatthiswasnotenough,Iwanted'a
                                             regrade.Mr.Kaiseragreedtogetmearegradeofmyexam toapassïflstoppedcomplajning,Iagree
                                                                                                                                       .                                                 )
                                             and he agreed to callmebgckonthe7thAugustto confirm completion.                     '                                                   .

                                             Ihavèthefulltelephonecopversation reqorded to provethisverbalagreèmentbetween both parties.                                         '
        '       '
                        '                    4hoprsIater,GèoffMacdonald,LegaltounseI,sentanemailspyingthebelow:                '
                                     .
                                             ''Gedowishtoassistaswecanunderthecircumstances.Youclaim tohavearecordingofyourcallwith .
                                             Mr.Kaîser.4fyolzwouldIikeacopyofthatrecordingtolwouldbehappytolf
                                                                                                            stentoit,conhrm ;Mr.
                                '
                                             Kaisermadetheundertakings,whatyoud% and.  takeappropriateaaion.Abàentacopyoftherecording                                    '
                                             lcannotconfirm yourallegationsandmustdisagree.'                                         ''


                                                                                                    '
                                                                                                                                                       1
                                                                         Case 3:18-cv-00088-GEC
                                                                                              ) Document 2 Filed 09/24/18 Page
                                                                                                           .                '  7 of 12 Pageid#: 9



                                                                                                                   )                            '                     .                                                   '
                                                    .                                                          $                                                                                          .
                                                                    '.            .                                                         '                                                                                                                                        '
                                    .




                '
                                                        .           Asyou can see in theemail
                                                                                            ,GeoffM acdonald,Lega
                                                                                                                'ICounsel,saidthatmyallegationswerefalse
                                                                                                                                                       .
                                                                                                                                                         without
                                                                        evenconfïrmingwithMr.JqsonKaiserthatwhaiIwassayingwastrue.Bothofthem workforthesame.
                                                                        companyintàesameofficeandMr.GeoffMacdonaldshouldhaveaskedMr.Kaiser,notme,this
                                                                        information.               .
                                                                                                                       '       .'
                                                                                                                                                                )h'                               .
                                                                                                                                                                                                                                        '
.                   .                                                                      '                                        .                           f-                    '       :       '
                                        '                           '             '
                                                                        Ifyoureadbelow,he'alsoprohiiitsmetocontactothercFA employees,includingMà.Kaiser,hencenot '                                                                                  '
                                                                                                                                                                                                                                                                     ' .
        .                                                               gïving methe chanceto defend myself..                                                    '                                    .       .

.               '                                                                                                                   .           '                                                                                                            '
                                    '
                                                                        M r.V acdonaldaddedanotherinconsistencypnthe 4thAugust2017:                                                                               '

                                            '
                                                                        ''
                                                                         However.slnceyouclaim tohaveengagedlegalcounseiallfurthercommunicationsreiardingyour
                                            .
                                                                        examinationexperiencemustnow bedirectediomeand'tomycolleague.LisaSharp               '                                                                                                       .
                        .                                               (tisa.sharp@cfainstitute.ora).Untilfurthernoticq,neitherMr.zaisernoranyoftheotherCFA lnstitute                                                                                                   '
                                                                        employeesincludèdonyourseveralemailswillbtcbntactingyoufurtherrègardingt/lf    smatter.You
                            '
                                                                        shouldrefrainfrôm contactinn CFA lnstituteemploveesfurtherreqardinqthismatter.''
                .               .
                                                                        However,onthe 13th October201y,UsaSharp,,LegalCovnsel,sentan emaijsayjng g
                                                                                                                                                 oj.
                                                                                                                                                   yqre j
                                                                                                                                                        sno                                                                                                      .
                                                                        disagreementthatMT Kaisèrshouldhavecalledm :backon the 7thAugust'.                                                                            .

    '
                                                                      Mr.Kaiserwasdireded bythe CFA Institpteto notcallmebackbecause hewasnoiaddressedto attend                                                                                                  .
            .                                                         Iegalclaims.Butinfact,M r.Jason'Kaiseralready knew thatIwasplanningto take Legalactionbeforehe
                                                                    .
                                                                      called.In fad,afew hoursbeforehisphonecall,lsentanem ailwarningofthis.lhad notengaged in                                                                                                       '
                                                                        LegalCounselyetwhenIwaàcontactédbylasonKaiser,Iwasonlywarningthem.                                                                                                      '.                                       j
                                                                         Ihad éaid aservicefeetothe CFA Instituteto contad theCustomerSvrviceifIhad anenquiry.                                                                                      '
                            '
                                                                        Prohibiting metocontactanyCFA'Semployeesundertheseèircumytanceswastotallywrong.
                                                                         '    '                                                                                                           '
                                                                                                                                                                                                              '           '-'
                                                                                                                                                                                                                            '
                                                                                                                                                                                                                                '
                                                .                                      .                           .                                                              .
                                                                                                                           .                                                  '
                                                                                                                                                                              J

                                                                        Afterrecei
                                                                                 vingtheemailfrom M r.GeoffMacdpnald,LegalCounsel,Ifeltthathewastryingto                                                                                    ..
                    .
                        .           .
                                                                        intimidate meand hewanted todamagemy'reputation sayinjthatIwastellingfalsestatem ents..                                                                                                                  '
                                                                                                                   ' .                  '
                                                                                                                               .                                                                                                                        .

                                                                             2- Invejtigation.
                                                                                             openedonthe1stSeptemb'
                                                                                                                  er2017W theProfessionalCondutt.                 .                                                                                     ''               )

                                                                        On 23rdAugust2017 Isent#nemailto M r.Kaiser,GlobalContad CenterManager,and UsaSharp,Legal
                                                                        Counsel,wh'
                                                                                  ere Isaid:                          '                                           '
                                                                                                                                                                                              .                   t
                                                                .
                                                                        ''
                                                                         lstillexpectasatisjaciotkresponseasaptoresolvetheMsaebeforegoingtofbtzrt..1qm planningto                                                                                                        '.
                                                                                                                                                                                                                                                                             '
                                                                        bring thiscasetoiheSmallClaim'scotlrtby 1stSeptem bertostaù withtfweJon'treachan                                                                                                         .


                                                                        agreementformisleadinginformotionprovîdedbyyoursekandtheCFA ''.rrhiswasreferringtoMr.
                                                                        Jason Kaiserphonecallonthe4thAugustwhere'he promisqdtp.callmebackon
                                                                                                                                          'the7thAugustto
                                '
                                                                        Confirm mYregrade.)            '           '                                    .                                                 '                                                                      '
                                                            '
                                                                        On 24thAugust,LisaSharp,LegalCounselreplied:                                        .                                                                                                '                   '

                        1                                               ''
                                                                         CFAs lnstituteisconsideringyourconductholisticallybeforeprqviding2snextresponse..ltisalsotheend
                                                                        ofsummerundmanyemhloyeesJreonvacqtion.IaskforyourTeasonèblepatiente.''
                                                                        However,whatIrécei
                                                                                         vedon t'
                                                                                                he 1stSeptem berwasanemailfrom RoyViaandJeffStith,                                                                                                                           .           :
                                                                '
                                                                        Investigatorsatthe ProfessionalConductdepartmbnt,openingan investigationforM isrçpresentation.I                                                                                                                  I
                                                                        foundthatthisinv'estigatipnwasan excuseto use itagainstme and again,to damagemyreputayion,my                                                                                                                     :
'
                            .                       .       '           m oralsand cause m e psychologicall
                                                                                                          ydam agesto intim idate m e.   .'
                                                                                                                                                    ,                     '
I                                                                                                                                                           .                                                                                   .                                        I
                                                .                        .                                                                                                                                            .
                                                                                                                                                                                                                                                    2                                    I
j                                                       .                                      .                                                                                      ' ,x .
j               ,                                                                                              .                                                                                                                                                 '
                                                                                                                               '                                                                                                    '       '
                                                                                           .                                                                                                                                                        .
                                        Case 3:18-cv-00088-GEC Document 2 Filed 09/24/18 Page 8 of 12 Pageid#: 10
            ,                                                                                            .                                                                    .                    '




                                        Reasonstheyfoundtoopenaninvestigation:ProfessionalConductbytheCFA lnstituteallekedthatI                               ''
                                        hadsentafalseinvoiceohthet6tbàugust2017to Mr.GeoffMacdonald,LegalCpunselandMnlason                                      '
                                        Kaiser,CustomerService Representative,requestingforan exam fee refund.
                                                     '

                                        onthe1stSeptemder2017Iwasexpedingcommunicationsfrom LisaSharp,LegalCouriselbutshe                                         .
                                        failed.todoso untilthe 13thOctober2017,afterIopèned aclaim'inthq Uk.Howevertheonly               .

                                        communication Ireceived wasthisfalse allegation.againstme.                                                            '

                                        IallegethatMr.JasonKaiserandMr.GeoffMaèdonaldcollaboratedwiththeProfessionalCondqct,
                                        duringAugust2017,to open an Investijation.Thisseemsaconspiracyagainstme.
                                        The Investigation,bytheProfessionalConduct,waàopqned between 1stSeptember2017tö 11th                                                           .
                                        January2018(theycloseditandProfessionalConductdidnotfindmeguil   tyofMisrepresentation).
'

                                    g
                                        Afteritwasclosed,IhavetrieptospeakwithJeffsti
                                                         .                  '       th,HeadofComplianceandRoyVia,Investigatorat
                                                                                    -                            -                               .

                                        the ProfessionilConductto clarifyafew things.Foreximple:                                     '
                                             -           W hy itwasopenedwiththe collaborationofM r.Jason Kaiser,CustomerSewice Representative
                    .                                    and Qr.GeoffM acdonald,LegalCounsel?                                                                                                  .
                                             -
                                                         W hyitwasopenedonthe1stSeptember(samqdaythatIwasexpectinganemailfrom Lis:
                                             l           Sharp,LegalCounsel)?                '                                      ,
                                                                                                                                           '. '
                        '                    -
                                                         W hyitwasclosedthe11thJanuarywithoutchargèsagainstme(3dayjafterIfiledaIawsuïtin                                               .
                                                 '
                                                         theCharlottesvilleMoneyClaim Court)?W astheCrA InstitutewaitingtoseewhatIwasdoing
                                                         befpre providingaresolution?              .                                                                              '
                        '
                                             -
                                                         W hy suchasimplecasewasopenedforfourmonthsand ahalfwithoutpm vidinginformation
                                                                   '                                                 '
                                                                                                                                 .
                                                                                                                                                                                   '   .


                                         .
                                                         aboutthetimescales?       '      .
                                                                                               .    ' '               '
                                                                                                                             .               .                            .

                                                         TheIajtem ailIhadtoséndtothe ProfessionalConductwason'the lsth.November2017:This                                                  '
                                                         wastheIastopportunitythattheCFA Institutçgavemeto defend my posi    tion.Normall
                                                                                                                                        y     .
                                                         ProfessionalConductused to allow me 14 daysto replyto theiremails.However,theydid not'
        '                       '                        takeafinaldecisionuntilthe11thJanua'
                                                                                            ry2018(tieytookalmosï2monthdtofinallyreplyand
                                                         provide aresolutîonfrom the lastemailientin Növember2017withoutexplanationofthe
'       '
                                                         timescale). '      ' '                              .                                                                         '
                                                               .                                                                                                  '
        .

                                        2nd Agteem entsentby em ail-leffstithandRoyvia,InvestigatorsattieProfessionalCpnduct
                                        refusedto provideexplanation bqcausewewere ina Iawsuitand theywould bç ableto providethese
                                        clarificatiènsrequested oncethe Iawsuïtwasresolved.                                                                   .



                                        Bynow,myreputationatworkwasdamaged.Iusedtow'
                                                                                   orkintheCiW ofLondoninBanking.To
                            .           progressmyjob carèerwithinthedepartment,   1hadtd pàssallthe CFA exams.Ihadtold myM anager                                '.                   '
                '                       thattheCFA Institute had promised mea regradebutthenthe LegalCounselalleged thatIwassaying
    .                                   falsestatements;andalso,theProfessionalConducthadopenedaninvestigation,allegingfalsethings.
                                        TheseallegationsmademeIosçincomeand1.hadtoIeavemywork.iheywillcausemelossofincomein
                                                                                                .
                                                                                                                                                     ''               ,

                                        thefuture too.                                                                   '
                                        Also,theabovecaused me moral,economicand reputationaldamage.                                                                  .


                                '
                                        CFA ProfessionalConductihrqatened metosuspend metotakepartintheCFA Program duringthe             '
                                .                                                                                                                                     1
                                        investigati
                                                  on.Duringthistime Ifeltunableto enrollintheCFA program untilIknew theoutcome.lhad                                                .
                                                  .                r                                                                                                                       ,

                                                                                                                                                          3                   .



I               '                                                               ,
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                                              Case 3:18-cv-00088-GEC Document 2 Filed 09/24/18
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                                                                                               Page 9 of 12 Pageid#: 11
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    :                                                                                                                                                                                                                                 '




             '
         .                                                                                                                                                                                                                                                     j

                                                                                                                            '               '
                                                                        .
                                              towait4monthsandahali(withoutexplanationfromthecFAInstituteofthetimescale)togeta                                                                                                            ..
                                              resolutionandseeifIcouldcontinuewïthmkmembershiporiftheywouldcancelit.
                                              Thewholeprocesscaused reputationaldamagejin mywork.tooahdaffededmyworkperformance.                                                                                                                           .
        '
                                              Also,each cFA exam isheld inJuneandthe exam Iasts6 hours.Thismeansthatacandidatehasto start
                                              studyingwillinadvance.ForCFALevellandLevel2IhadtèstartinSeptember/october.                                                                                                              .
                                              jecause lwasunderinvestigation,Ihadto waitforthe ProfessionaIconductrsoutcome.They    '                                                        '       ''
                     e
                                              threatenedmetonot.bqingabletoconiinueinthecFA program andnotbeingabletoretakemy.   cyA                                                                                                      ,.
                                              Level2 exam again inJune2018.Thism eans:                                      '           '

                                                    -       W hatwàsthe pointformeto enrollin theCFA exam inSeptem ber2017 and stad studying' ifI'                                                                                             '
    ..
                                                            didnotknow ifIwouldbeableio'takepartoftheCFA Pçogram orIdidnotknow how Iongthey                                                               r
                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                               '
                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                           ,

                                                .
                                                            wpuld need to take aresolution?
                                 .
                                          .
                                                    -       Ialso did nèt
                                                                        .
                                                                          know thatif'l
                                                                                      .
                                                                                        had paid' my exam feesandthen Professi
                                                                                                                             onalCondud had found m e
                                                                                                                                                                                                              .
                                                            guilw anàIcouldnotcontinuewi
                                                                .                      ththeprogram,maybçtheywouldnotrefundmyexam fees.
                                              Thiswasclea'rlyan abpseofpower.                                                                                                '               .                .                                        .

                                                                                                                                                                .                                                                     #

                                              Also,theinvestigationfor''Mi
                                                                         srepresentation''wasopenedonthelst'
                                                                                                           sgptember2017.Tiesame                                                                                                               .
                                              month,Ifiledaclaim ' intheSmallClaimsCourtintheUKagainsttheCFA Institute(beforelfiledonein
                                              theUS);andtheIi  tigationintheUKIastedfrom SeptembertillNovemberuntilitwasstruckoutbecause
                                                                            .
                                     -.
                                              CFAlnstituteisnotgovernedW UKIaws(assaidbefore,onthe8thJan2018Ifile   'daMoneyClaim inthe                                                                                               . .
                                              ri
                                               ghtjurisdiction,CharlottesvilleMoneyClaim Court).
                                                    .                                           '          .          . .
                                                                                                                        .                                                                             '               .           '
.                                                                                           .

                                              W hilethe dispùtewasopenedinthe UK and beforeitwasstruckout;RoyVia,ProfessionalCondud                                                                                           '
                                              Investigator,didnotfind any inconveniencetoaddressme somequestionssetforkh in hi
                                                                                                                             j.letters.Iwas                                                                                                            '
                     '                        aIsoabletoaskhim somequestionsregardingtheInvestigationprocedurean;hekindlyhelpedmewith
                                              fnyqueries.Thefirstlitigatiùnopenedinthe UK inSeptember2017,wasno barrierto preventRoyvia,
                         '
                                              InvestîgatorattheProfessionalConduct,to respond myquéstionsorpostponethe lnvestigatidn
                                              IfProfessionalCbndud did notwantto com municatewith me becatise wewere inLi
                                                                                                                        tigation inthe USA,
                             .                whythey did notappl ythesame procedurew hileWewerein Iitigation intheUK?

                 '
                                     .        ProfeysionalConductclosed myInvestigationonthe 11thJanuary. 2018,withoutcharges.Howqver,they
                                              issued acautionaryIetter,which meansthatCFA lnstitutecanreopenthe Investigationand suspend.m e
                                              from theCFA Institute.                                    .           ?        '

                                         ''                                         .                               '
                                                                                                    .                                           .
!                                                                                                                                                                                                .
!
i                                             111.STA TEM ENT
                                                           s  O F .CLAIM                                    .                                                       .
                                                                                                                                                                                                                      '
                                                                                                                                                                                                                      .



;            .                                On8tbJanuary2018Ifiledaclaim intieSmàllMoneyatCharlottesvilleGeneralDistrictCourtaftermy
                                                                                        .
                                                                                                                                                                                                                                                   '
h
j ' '
    .
         .
                                              UKclaim wasstruckoutforlackofjurisdiction.'
                                                                                .               .
                                                                                                '                                       :                                        .
                                                                                                                                                                                                                          .
I                                                                       '                                                                           '   '                '
                                              l'tverbalagreementreceived on4tbAugustwasbreached.                                                                    ''                   .
                                                                                                                                                                                                                                                   .           '




                                                                    .                                                                                       .
                                                            .                                                                   t
                                                                                                                                                                                     .
                                                                                                                                                                                     .
                                                                                                                                                                                                 .                .
                                                                                                                                                                                                                                                               j
                                                                                                                                                                                                                                                               I
                                                        .
                                                                                                        '                                                                                                         4                                            I
'



                                    Case 3:18-cv-00088-GEC Document 2 Filed 09/24/18 Page 10 of 12 Pageid#: 12




                                                                                        k                                             ,


                        '           TheHearingCourtdate inCharlottesvilleSmallCourtwasscheduled forthe 22ndJune 2018 butone day
                            '

                            '
                                    earlierCFA Institute and mesigned an agreement.Theyproposed aretabulation butthey did not
                                    .
                                    com plywiththeretabulationwitha regradeaspromised by M r.Jason Kaiseronthe4thAugust.
                                    2ndw ri
                                          tten agreementsentbythe ProfessionalCondud wasalso breached.                                    .'               .
                                                                                                .           1
                                    Ihavetried to engagewith ProfessiopalConductafterthesettlementagreementwassigned.Oncethe'
                                    lawsuitwasovertheysaidthatlcould contactthem andrequestdarification aboutthe lnvestigation
                                                                                                    .

                                    thatIthoughtitwasopened on purpose.                ' ..          '                                                         .



                                    Ithoughtthatsigningthatcontrad Icould getapassaspromised and Iwould recovermyreputation
                                    withïnthe BankïngIndustryand recuperatemy Iossincome inthe Iongrun.          .
                    '
                                    AsIsaid,CFA Institute had promisedme apassrateinAugust2017whichthenthëy refusedto do R and
                                    ProfessionalConductopened a' ninvçstigationWi
                                                                                thoutproperclarificationfrom theirside.
                                    Boththingsaffected my ieputationatworkbecausemy ManagerthoughtlwasaIiarand also myteam
                                    believed IwasnotaProfessionàlwi thhigh Ethicsstandards.Bothcasesimpeded mdto pcogressinmy
                                    job,Ihadto Ieave and also myreputationwithinthe FinancialDistrictin Londonwasaffected.Thishas
                                    made meIose alotofmoneyand Iwillincurinm oreIossesinthe nearfuture.              '
                                .                                                       '

                                    Ithoughtthatagreeingto.  theirContractIcould recoverrùy reputétion,m'
                                                                                                        oralsandforgetthetortthat                                              i
                                    CFA Ihstïtute had c4usedmq.                        '                                                                   .
    %                               Thedefendant.CFA
                                                  ,
                                                     Institutefailed to complvbecause:                                                         '                       .



                                    Theyhave breached theirverbalcontrad onthe 4tbAugust2017 andwasnotrefleded on the
                                    Settlementagreementsigned onthe21StJtine 2018 either.Al   so ProfessionalConductdid notcomply
                                    withtheirwritten suggestionin Feb/uary2018thattheywould clarifythe pqrpose and timescalesofthe
                                    Investïgatïon am ongotherthingsoncew ew ere notir)Iitigation..


                                    IV RELIEF
                                            1- ApartformymonetaryreiiefIalsowantapassrateofmyexam asagreed.

                                            2- $8000incompensatorydamages.                                                        .
                '                                 .      .                                  .           r
        '
                                              Assaid before,Mr.Jason Kaiser'sacionsandthe ProfessionalConductinvestigation càused me                                        !
                        ,       '
                                            .
                                              moral,reputationaldamagesatWork.                         .                                                                   .
                                            Ihave Iostmyjobdueto CFA accujations;and duringmyjob Iasted IIosttheopportunityto                                      '       '
                                        .   progressbecausetheydid nothave anyconfidenceon me.                                                                                 r
                                                                             '                                                                                                 ;
                                            lstillhave nojob.lhave recentl
                                                                         y attendedan interview withanothercom panyand they contacted
                                                                                                                          '
                                                                                                                                                       .                       .
                                                                                                                                                                               j
                                            my'previousemployertocheckreferences.My oIdem ployerexplained.theconflid betweenthe CFA
            .                               lnstitute and me-To defend myselfIaskedthe ProfessionalCondud on15'hAugust2018to provide
                                            refer'encesto'my potentialem ployer,howeverProfessionalConductrefusqd to make anystatement                                     .


                                                             '                                                                                     5
j                                                                      '                                                      .
'                                                                                                                                                         -
                                                         .       .                                                                .                                                    y
                                                                                 .
                                                                                     .           !
                                                                                                 d                                        .                           '            é
                                                                                                                                                                                   rp                          '                       '
                                        Case 3:18-cv-00088-GEC Document 2 Filed 09/24/18 Page 11 of 12 Pageid#: 13




                                                                                         .                   .       @,   '
                                                     to'confirm thatthe investîgasbnwasclosedwithoutcharges;they didnotwantto mçrition anything                                                                                    ' '
                                                                                             '
                                                                     p
                                                     aboutM r-'Kaïsersallegationseither. .                                '       .'
            '
                                                     Iwould be'abletoshow'comm unicationsbetween meand LisaSharp,l-egalCounjelnotifyingher,               a                                                                                '
                                                     priortosign'thesettlementofmydifficultfinancialsituationduetothetFAaccusations.

            %                                        MyIastjobénded'IastWinterandmysalarywas$70000plusbenefi   tsandbonuses(approximatelya
                                                                                                                              .                                                                .


        t                           '
                                                     10% ofmysalary,$7000).Approximatelylhavepotentiall
                                                     .                                               .
                                                                                                      ylostthisamountandIwillpotentiall
                                                                                                                                      y d
                                                                                                                                      -                                            - -
                                                                                                                                                                                       -           -

                        .
                                                     Iose moreinthe Iongrunduetolackofqredibilitywithin the Londonfinancialservïces:The Banking                                                                '
                                                     industryinLondon thinksorwillthinkthatIam notveryprofessionalwi thhigh Ethicsstandards                       '
                                            4
                                                     oncetheycheckmyreferenceswithmy'
                                                                                    previousempl
                                                                                               oyeranddFA doe
                                                                                                            'snotwanttoconfirm that                                                                                                .
                                                     theyclosed the investigation becaus
                                                                                     '
                                                                                        etheycou
                                                                                               'Id notfîndanyreasonable re4sonsto accùse meof '                       '
                                                                            .    .                                               '            .
                                                     Misrepresentatioh.             .                   .                           ',                                                                 .

                                                                                                                                                  '
                                            $                                                                    .
                                                                                                         '                                                                                                     .
                                                 .
                                                     Assaid before,ourHearingcourtdatewason 22ndJurie 2018 andIhad to fIytothe USto attyndthe
                                                                                                           '                             ''
                ,       .                                                                                                                   '
                                                     Hearing.          '     .    .                 ,
                                                                                                         .                   .                                            '



                            '
                                                     A weekearlierLisa Sharpsbntm easettlementagre'
                                                                                                  ementkand because Iwasalreadyflyiigtothe                                                                                             '
                                                     UsIaskediertomeetinpersontoclar'
                                                                                    ifysomepoihts,speciailythioneabouttheretabulation:
                                                     Sherefused to meetme'and IsignedthecontractbeingconfidentthatCrA Indtitutewould'comply
                                                     withthe contract.                 .        .                                '    ' .                                                                                  .
                                                                                                                                                                                                                           '
                                                     Itriedto resolvethe issuesamicablyfacetoface,CFA refused to meetin person,insteadtheymade                                                                                             '
                                                     mebelievethattqeywouldcomplywiththewrittensettlementagreementtheysent.Ihadtopay.                                                                                                              '
                    .                                $4000intravelexpeniesaIItogetherthattheCFA Insti
                                                                                                    tuteshouldpay.                . '                                                                                      .
                                        '
                                                     Ihadalready bookedthetrip beforeIreceived thesettlerientofferand. Itookthq opportunityto fIy
                                                     anywayto meetin personto negotiateandsee ifIcould rel y intheirwords.                                                                                         '


                                                     Iam alsorequesting$160000inpunitivedam'
                                                                                           agestodetertheCfaInstitutefrom engagingînthe
                                                     sameconductinthefuturewithanyothercandiàate.                                                             .                   h'       .                               '
                '
                                                                                                                                                                                                                                   .               I
        .                                            CFA instituteacted inappropriately: .                                                                                                                                                         ,

                                                     -       AfterM r.Jason Kaisercalled me,Mr.GeoffMacdonaldàsked meforaphonecallrecord
                                                                                                                                       'ingto
                                                             m akesure.thatmy allegaiionsweretrue.'                                                   .

            '
                                                             Mr.KaiserandMr.Macdonaldworkforthèsamécompany,inthesamebuilding.Mr.                                                                                                                   i
                                '
                                                             M acdonaldshould makesureto askM r.Kaiserfirstifmyallegationsweretrueratherthan M r.                                                                  ' '
                                                         ,   M acdonaldtreatingme like aliarandcreatethistype ofconspiracyagainstme. '                                                                               '                         .

                                                             Also,CFA Institutesaid thatM r.Kaiserdid notrecordthetelephone conversqtions,LisaSharp,                                                                               '
    '               .
                                                             LegaltdunselsaidthattheCustomeçServiceManagerswerenotrecordingtelephone                                                                                               '
                                    .                        convqrsationsduringtheAugustmonth.Thisisa professionalmàlpradide,aIICustom erService
                                                             r:presentatives,specially ManagersIïkeM r.Kaisqr,havean oblïgationto record conversations
        '                                   .        '       witi'
                                                                 customerto keepi
                                                                                tinc'
                                                                                    asethere arefutureMi
                                                                                                       sunderstandings,Iikqthis
                                                                                                                              'onè.
'           '                                                Also,CFA Instituterecommehdshigheihic!standardstotheCFA candidatesandmembers,they
            '
                                                             recommendtokeepacopyoftheirrecordingswithclientsfor7years(CFA Instituteobligestheir
                                                             càndiàatestostudytheCFAEthicsstandards).I/CFAInsti
                                                                                                              tutedonotfollowihespmestandard,                                                                                              '
                                        '                    itmeansthattheyarenotanexemplaryorganizatiop.                                        .                   ' '              '
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                                                Case 3:18-cv-00088-GEC Document 2 Filed 09/24/18 Page 12 of 12 Pageid#: 14




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                '                                                        Mr;Kaiserand M r.Macdonald'sactionsdamaged myreputation and moralssayingthatmy
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                                                                         allegationswerefélse
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                    '                                    -               Asprevïouslyexplainedindetail,IallegethattheProfessionalConductopeneàaninvejtlgation
                    '                                                    withthe helpofM r.Kaiser,ManagçrattheCustomerServiceteam and Mr.Macdonald,Lqgal,
                                                                         Counselto causeme harm,to intimidate meandhçnce stoppingmeto takefurtherIegal
                                                                         actions.AlsoitisunethicalthatProfessionalConducthasneverprovidedexplanationsaboutthe
                                                                         timescalesoftheinvestigation,which itistheIeastthattheycoulddo.-rhey.areal
                                                                                                                                                  sp refusîngto                                                             -
                                    '
                                                                         provideclarificationtopot
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                                                                                                  enti
                                                                                                     alempl oyers and t
                                                                                                                      hey harmed my r
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                                                                                                                                           on. '    . .
                                                             - IhaveinformedseveraltimestoLisaSharp,LegalCounselàow muchharm andstresstheCFA .
                                                                 '
                                                                         lnstitutewascausing me 4nd lhadto attendthe pwchologistseveraltimes.They seemed notto
        '                   ,                            .
                                                                         be botherpd and they neverprovidedanADR until  '
                                                                                                                          Ifiled a Iawsuit.Customer
                                                                                                                                                '
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                                                                                                                                                   Servicenever                                                                 .
                                                                                                                                                                                                                                                     '
    ,                                                                    offered an apologyeitherfortheservice provïded.                                        ,

                                                     .   -               The defendant'sconducthasalwaysbeen extraordinarily öffensiveandsomeoftheiractions
 '                                                                                                                                                                                                                                               '
..                                                                       weré . i
                                                                                ntèntionallytocausem etortandto intim idate me.                   . .      ,

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                                                                         Iused to workintheCityofLondon in Banking.Toprogressmyjob careerwithin myprevious
                                                 .
                                                                         job Ihadto pqssaIIthe CFA examskIh#dtold my M anagerthatthçCFA Iùstitutehad promised
                                                                                                               ..
                                                                                                                                                                                                '                                            '

        '                                                        mea regrade butthen theLegalCounselallqged thatIwassayingfalsestatemenb.Also the                                                                                        .

                                                               ' ProfessionalConducthadopened aninvestigation,allegingfaljethings. .
                                                             -   The abovecaused me moral,economicand reputationaldamage.                      ' .
            '
                                                             -   CFA ProfessionalConductthreatened meto suspend metotakeparlintheCFA Program during
                                                                 the invèstigation.Duringthistime,Ifeltunableto enrollintheCFA prpgram untilIknew the
            '
                                                                         outcome.Ihadtowai  t4monthsandahalf(withoutexplanationfrom theCFA Instituteofthe
    .                   '
                                                                 .
                                                                         timescale)tojetaresolution'
                                                                                                   andseeiflcouldcontinuewithmymembershiporiftheywould
                                                                         Cancelit.IIositheopportuni
                                                                                                  tytocintinuetheCFA program andretakemyexam .                                                                              .
    .                                            .       -           '
                                                                         Thewhole processcaused m ereputationaldamagesatworkand.affected mywork                                                                                     '
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                                                                         perform ance.                                                     .
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                                                         -               Iknow lhavethe righttofile alawsuitagainsta com panyiflbelievitheyhave breached the
            '
                                                                         Lpw.W hen Ifileda çlaim inthi USCourt,LisaSharp,LegalCounselthreatened methatitwould
                                                                         afectmyworkcareer.CFA InstituteisanonprpfitorganizationandthekprpmoteHighEthïcs                                                                            .
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